






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00035-CV






First American Life Insurance Company, Appellant


v.


Texas Memorial Life Insurance Company; Memorial Administrators, LLC

d/b/a Texas Memorial Administrators, LLC; Time Holdings, Inc.; and State of Texas,
Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GV-09-000904, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

		

		Appellant First American Life Insurance Company, through counsel for its
Special&nbsp;Deputy Receiver, has filed an unopposed motion to dismiss this appeal.  We grant the motion
and dismiss the appeal.  See Tex. R. App. P. 42.1(a)(1).



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Dismissed on Appellant's Motion

Filed:   May 28, 2010


